               Case 1:06-vv-00809-UNJ Document 86 Filed 01/29/16 Page 1 of 2




                   In the United States Court of Federal Claims
                                      OFFICE OF SPECIAL MASTERS
                                               No. 06-809V
                                           (Not to be published)


*************************
                                   *
ROBERT T. BEVILL                   *
and JANICE BEVILL, parents and     *
natural guardians of RCB, a minor, *
                                   *
                      Petitioners, *
                                   *                                      Filed: January 6, 2016
               v.                  *
                                   *                                      Decision on Attorneys’
SECRETARY OF HEALTH AND            *                                      Fees and Costs
HUMAN SERVICES                     *
                                   *
                      Respondent.  *
                                   *
*************************



                             DECISION (ATTORNEYS’ FEES AND COSTS)
       In this case under the National Vaccine Injury Compensation Program,1 I issued a
Decision on September 14, 2015. On January 4, 2016, the parties filed a joint stipulation of fact
concerning attorneys’ fees and costs in this matter. The parties’ stipulation requests a total
payment of $7,267.25, representing attorneys’ fees and costs of $7,107.25, and $250.00 of costs
expended by Petitioners.
        I find that this Petition was filed and pursued in good faith and with a reasonable basis.
Thus, an award for fees and costs is appropriate at this time, pursuant to 42 U.S.C. § 300aa-15(b)
and (e)(1). Further, the proposed amounts seem reasonable and appropriate. Accordingly, I
hereby award the following attorneys’ fees and costs pursuant to 42 U.S.C. § 300aa-15(b) and
(e)(1):
           •        a lump sum of $7,017.25, in the form of a check payable jointly to Petitioners
                    and Petitioners’ counsel, Richard Gage, on account of services performed by
                    counsel’s law firm.



1
    The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq. (2012).
             Case 1:06-vv-00809-UNJ Document 86 Filed 01/29/16 Page 2 of 2



         •        a lump sum of $250.00, in the form of a check payable to Petitioners,
                  which represents Petitioners’ own litigation expenses in this case.
       In the absence of a timely-filed motion for review filed pursuant to Appendix B of the
Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter judgment in
accordance herewith.2

IT IS SO ORDERED
                                                                             /s/ George L. Hastings, Jr.
                                                                                 George L. Hastings, Jr.
                                                                                 Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing the
right to seek review.
